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           EXHIBIT C
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David Zimmer

From:                              Daniel Purcell
Sent:                              Sunday, April 15, 2012 2:59 PM
To:                                Oracle-Google (Oracle-Google@BSFLLP.com); 'OracleMoFoServiceList@mofo.com'
                                   (OracleMoFoServiceList@mofo.com)
Cc:                                DALVIK-KVN; dalvik-ks@kslaw.com; 'GT_Google@gtlaw.com' (GT_Google@gtlaw.com)
Subject:                           Notice of Motion in Limine


Counsel,

This is our notice that, by 6 pm tonight, Google will move in limine to exclude evidence of Oracle’s alleged valuations of
Sun as a whole or Sun’s Java businesses (including trial exhibit 2038), or, in the alternative, to exclude that evidence
from the copyright phase of trial. The bases of the motion are FRE 402, 403, and 802.

Google will also move to exclude from the copyright phase of trial evidence and testimony regarding Android finances,
revenues, costs, and profits, including the entirely of Oracle’s designations from the deposition of Aditya Agarwal. The
bases of the motion are FRE 402 and 403.

Thank you.




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